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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                      )
ROBERT A. McNEIL,                                     )
                                                      )
       Plaintiff,                                     )
                                                      )
       v.                                             )       Civil Action No. 20-0329 (JDB)
                                                      )
U.S. DEPARTMENT OF STATE,                             )
                                                      )
       Defendant.                                     )
                                                      )

       OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Defendant, U.S. Department of State, respectfully opposes Plaintiff’s motion for

summary judgment (ECF No. 11). This case arises under the Freedom of Information Act

(“FOIA”) and involves Plaintiff’s request for a particular record regarding him that he alleges

was generated by the Internal Revenue Service (“IRS”) and provided to the Department of State.

As explained in the attached declarations, the Department of State does not receive such records

from IRS, and Plaintiff has no evidence to the contrary. The attached declarations suffice to

establish that the Department of State conducted an adequate search under FOIA.

                                           Background

       Under 22 U.S.C. § 2714a, the Department of State may not issue a passport to a U.S.

citizen if the Treasury Department has certified that the citizen has a “seriously delinquent tax

debt.” Plaintiff, a U.S. citizen, requested a passport from the Department of State, but was

refused due to the certification by IRS that Plaintiff has a “seriously delinquent tax debt.”

Compl. Ex. 2 (ECF No. 1 at 20 of 79). See also Declaration of Eric F. Stein ¶ 8, attached

hereto. Plaintiff submitted FOIA requests to both IRS and the Department of State regarding
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the referenced certification. Specifically, his request to the Department of State sought: “The

sworn, signed document provided to the United States Department of State by the Department

of Treasury’s Internal Revenue Service ‘certifying’ that I have a serious delinquent tax debt, as

referenced in the attached June 27, 2018 State Department letter denying my request to renew

my passport.” Compl. Ex. 10 (ECF No. 1 at 48 of 79). Plaintiff thereafter corresponded with

the Department of State several times, repeatedly requesting “a copy of the signed, sworn

Certification from the Secretary of the Treasury” about his tax debt. E.g., Compl. Ex. 5 (ECF

No. 1 at 28 of 79). Unsatisfied with the responses he received, Plaintiff filed this lawsuit,

naming only the Department of State as a Defendant.

                                       Standard of Review

       Federal courts generally decide FOIA cases on summary judgment. See, e.g., Weisberg

v. Dep’t of Justice, 627 F.2d 365, 368 (D.C. Cir. 1980). When deciding whether summary

judgment is appropriate in the FOIA context, a court is required to view the facts in the light

most favorable to the FOIA requester. See Burka v. Dep’t of Health & Human Servs., 87 F.3d

508, 514 (D.C. Cir. 1996); Steinberg v. Dep’t of Justice, 23 F.3d 548, 551 (D.C. Cir. 1994).

       When the adequacy of an agency’s search for information requested under the FOIA is

challenged, the adequacy is determined by a “reasonableness” test. Meeropol v. Meese, 790

F.2d 942, 956 (D.C. Cir. 1986); Weisberg, 705 F.2d at 1350-51. As a general rule, an agency

must undertake a search that is reasonably calculated to locate the requested information.

Kowalczyk v. Dep’t of Justice, 73 F.3d 386, 388 (D.C. Cir. 1996). Courts have found agencies

satisfy the “reasonableness” test when they properly determine where responsive records are

likely to be found and search those locations. Lechliter v. Rumsfeld, 182 F. App’x 113, 115 (3rd

Cir. 2006) (concluding that agency fulfilled duty to conduct a reasonable search when it




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searched two offices that it determined to be the only ones likely to possess responsive

documents); Oglesby v. Dep’t of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990); McKinley v. Bd.

of Governors of the Fed. Reserve Sys., 849 F. Supp. 2d 47, 55-56 (D.D.C. 2012) (concluding

that agency’s search was reasonable because agency determined that all responsive records were

located in a particular location created for express purpose of collecting records related to

subject of request and searched that location).

       The agency must show “that it made a good faith effort to conduct a search for the

requested records, using methods which can be reasonably expected to produce the information

requested.” Oglesby, 920 F.2d at 68. “There is no requirement that an agency search every

record system.” Id. Rather, “the issue to be resolved is not whether there might exist any other

documents possibly responsive to the request, but rather whether the search for those documents

was adequate.” Weisberg, 745 F.2d at 1485. On this issue, courts accord agency affidavits “a

presumption of good faith, which cannot be rebutted by ‘purely speculative claims about the

existence and discoverability of other documents.’” SafeCard Servs., Inc. v. SEC, 926 F.2d

1197, 1200 (D.C. Cir. 1991); see also Wilbur v. CIA, 355 F.3d 675, 678 (D.C. Cir. 2004)

(“Likewise, the agency's failure to turn up a particular document, or mere speculation that as yet

uncovered documents might exist, does not undermine the determination that the agency

conducted an adequate search for the requested records.”). As explained in Aguilar, to meet its

burden on the adequacy of its search, the agency’s declaration should contain:

       the search terms and the type of search performed, and averring that all files
       likely to contain responsive materials (if such records exist) were searched.”
       DiBacco v. U.S. Army, 795 F.3d 178, 188 (D.C. Cir. 2015) (quoting Valencia-
       Lucena v. U.S. Coast Guard, 180 F.3d 321, 326 (D.C. Cir. 1999)). But “if a
       review of the record raises substantial doubt, particularly in view of well-defined
       requests and positive indications of overlooked materials,” then we must deny
       summary judgment. Id. (quoting Valencia-Lucena, 180 F.3d at 326).




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Aguiar v. DEA, 865 F.3d 730, 738 (D.C. Cir. 2017); DeBrew v. Atwood, 792 F.3d 118, 122

(D.C. Cir. 2015).

                                            Argument

       The agency’s search was adequate, as explained in the attached declarations. The FOIA

request at issue here sought “the signed, sworn certification” generated by the Treasury

Department pertaining to Plaintiff. Compl. Ex. 10 (ECF No. 1 at 48 of 79) (seeking sworn

certification of tax debt); Stein Decl. ¶ 8. There is no evidence that the Department of State ever

came into possession of such a record. Instead, the Declaration of Miguel Gonzalez, attached

hereto, establishes that the process followed by IRS and State regarding the certification of

seriously delinquent tax debts is that IRS sends to the Department of State each week an

electronic list of taxpayers with “seriously delinquent tax debt[s]” and that the Department of

State uses that list to determine for whom it should revoke or deny passports pursuant to the

statutory ban in 22 U.S.C. § 2714a. See Gonzalez Decl. ¶¶ 6, 8; 22 C.F.R. § 51.60(h)(2))

(previously at 22 C.F.R. § 51.60(a)(3)). IRS does not provide a signed, sworn certification for

each taxpayer. See Gonzalez Decl. ¶ 9.

       The Department of State’s declarations explain that the only office likely to have records

related to the issuance of passports is the Office of Passport Services (“PPT”) within the Bureau

of Consular Affairs (“CA”) and that none of the other organizational units within State are

likely to have records relating to an individual’s passports or tax debts. Stein Decl. ¶ 14. This

satisfies the strictures of Aguilar that the agency search all offices likely to have responsive

records and attest that no other offices are likely to have responsive records. Because the

electronic information identified does not satisfy Plaintiff’s request, there is no other place the

agency should have looked.




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        Plaintiff has pointed to 26 U.S.C. § 7345(d), and its requirement that IRS provide the

taxpayer notice, via a form “Notice CP508C,” that IRS has certified to State the seriously

delinquent tax debt, to argue that IRS is also statutorily required to provide a copy of the Notice

CP508C to the Department of State as well as to the taxpayer. E.g., Compl. ¶ 20. This reads

too much into the statutory language, which merely requires that IRS provide a certification to

the Department of State, and does not say anything about the form that that certification must

take. But the more important point for purposes of this FOIA litigation is that this statute does

not undermine the facts described in the attached declarations, which describe a streamlined

process by which IRS provides a weekly electronic certification to State, in the form of a list of

taxpayers. Gonzalez Decl. ¶¶ 6, 8.

        For these reasons, the search conducted by the Department of State was adequate under

FOIA.

                                           Conclusion

        Defendant asks the Court to deny Plaintiff’s motion for summary judgment.


Dated: July 20, 2020                          Respectfully submitted,

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